             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                       1:20 CV 341 MR WCM

GREGORY R. BANTIN,
JULIE L. BANTIN                                  )
                                                 )
                  Plaintiffs,                    )
v.                                               )           ORDER
                                                 )
AIR & LIQUID SYSTEMS CORPORATION,                )
ARMSTRONG INTERNATIONAL, INC.,                   )
CARRIER CORPORATION,                             )
CRANE CO.,                                       )
FMC CORPORATION,                                 )
IMO INDUSTRIES, INC.,                            )
MCNALLY INDUSTRIES, LLC,                         )
VELAN VALVE CORP.,                               )
WARREN PUMPS, LLC,                               )
WEIR VALVES & CONTROLS USA, INC.,                )
THE WILLIAM POWELL COMPANY                       )
                                                 )
                  Defendants.                    )
                                                 )

      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 87) filed by Allison Becker. The Motion indicates that

Ms. Becker, a member in good standing of the Bar of this Court, is local counsel

for Velan Valve Corp. and that she seeks the admission of Mark Tuvim, who

the Motion represents as being a member in good standing of the Bar of the

State of Washington. It further appears that the requisite admission fee has

been paid.




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      Accordingly, the Court GRANTS the Motion (Doc. 87) and ADMITS

Mark Tuvim to practice pro hac vice before the Court in this matter while

associated with local counsel.


                                 Signed: October 12, 2021




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